Case 2:03-CV-02876-SHI\/|-tmp Document 40 Filed 08/19/05 Page 1 of 2 Page|D 54

IN THE UNITED S'I‘ATES DISTRICT COURT FILED B"f' ,_,,,__ D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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PAMELA ANN DoTsoN, CLERW§‘?`)F€TF(:’QTU]CDOURT
l _ W/D G~ “:’?\§. :"=£EMPHS
Plaintiff,
vs. No. 03-2376~Map

AT&T WIRELESS, ET AL.,

Defendants.

 

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

 

Before the court is the plaintiff’s August 15, 2005,
unopposed motion requesting an extension of time within which to
file a response to the defendant AT&T's motion for summary
judgment. For good cause shown, the motion is granted. The
plaintiff shall have additional time to and including August
17, 2005, within which to file a response.

lt is so oRDERED this /g%?ilay of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

